   Case 2:21-cv-05141-MWF-PVC Document 16 Filed 10/08/21 Page 1 of 1 Page ID #:83




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     2:21-cv-05141-MWF-PVC                                        Dated: October 8, 2021

Title:       Jonathan Heller v. San Diego Accounts Service, Inc.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                   None Present
             Courtroom Deputy                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                  None Present

PROCEEDINGS (IN CHAMBERS):                    COURT ORDER

      In light of the Notice of Settlement filed September 30, 2021 the Court sets a hearing
on Order To Show Cause Re Dismissal for November 22, 2021 at 11:30 a.m. If a stipulated
dismissal is filed prior to this date, the matter will be taken off calendar and no appearance is
needed. All other hearings and deadlines are hereby vacated.

         IT IS SO ORDERED.




MINUTES FORM 90                                                  Initials of Deputy Clerk    rs
CIVIL - GEN
                                               -1-
